          Case 1:18-cr-00335-GJH Document 95 Filed 06/19/19 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     Northern Division

UNITED STATES OF AMERICA                     )
                                             )                             8:18CR335-GJH
               v.                            )
                                             )
JASHON FIELDS                                )
     Defendant.                              )

            MOTION FOR A COMPETENCY EVALUATION AND HEARING

        Counsel for Jashon Fields hereby moves this Court for a hearing to determine Mr. Sueiro’s

competency, pursuant to 18 U.S.C. §§ 4241 and 4247(b). In support of this motion, undersigned

counsel states as follows:

   1.   Mr. Fields is charged by superseding indictment with conspiracy, in violation of 18 U.S.C.

        § 371 (Count 1), to commit the offense of interstate transportation of stolen property in

        violation of 18 U.S.C. § 2314.

   2. During the course of multiple meetings with Mr. Fields, undersigned counsel has become

        concerned that Mr. Fields is “unable to understand the nature and consequences of the

        proceedings against him or to assist properly in his defense.” 18 U.S.C. § 4241.

   3. The detailed reasons for counsel’s concern were presented in a sealed, ex parte attorney

        inquiry hearing before the Honorable A. David Copperthite, on June 19, 2019. Judge

        Copperthite held, and undersigned counsel agrees, that an evaluation and hearing pursuant

        to 18 U.S.C. §§ 4241 and 4247(b) are necessary.

   4. In order to avoid undue delay, undersigned counsel respectfully asks this Court to order

        that the evaluation be conducted at the Chesapeake Detention Facility, where Mr. Fields is

        being held.




                                                 1
     Case 1:18-cr-00335-GJH Document 95 Filed 06/19/19 Page 2 of 3



    WHEREFORE, for all of the following reasons, this Court should order a competency

evaluation and hearing in accordance with 18 U.S.C. §§ 4241 and 4247(b).


                                       Respectfully Submitted,

                                       By: /s/ Eugene V. Gorokhov
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                                          2
         Case 1:18-cr-00335-GJH Document 95 Filed 06/19/19 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that I filed the foregoing document via ECF and a copy will be

automatically sent to the AUSA of record.




                                            By: /s/ Eugene V. Gorokhov
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